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 1   ANTHONY P. CAPOZZI, CSBN 068525
     LAW OFFICES OF ANTHONY P. CAPOZZI
 2   1233 W. Shaw Avenue, Suite 102
     Fresno, CA 93711
 3   Telephone: (559) 221-0200
     Fax: (559) 221-7997
 4   E-mail: capozzilaw@aol.com

 5   Attorney for Defendant,
     REFUGIO SANTANA
 6
 7
                       IN THE UNITED STATES DISTRICT COURT
 8
                      EASTERN DISTRICT OF CALIFORNIA, FRESNO
 9
                                     * * * * *
10
11                                            ) Case No.: CR-F-03-5107 AWI
       UNITED STATES OF AMERICA,              )
12                                            ) STIPULATION FOR CONTINUANCE AND
                     Plaintiff,               ) ORDER THEREIN
13                                            )
               vs.                            )
14                                            )
       REFUGIO SANTANA,                       )
15                                            )
                     Defendant.               )
16
17
          IT    IS   HEREBY   STIPULATED   between   the   Defendant,   REFUGIO
18   SANTANA, by and through his attorney of record, Anthony P. Capozzi,
19   and Plaintiff, by and through Assistant United States Attorney,
20   Dawrence Rice, that the Hearing now set for Tuesday, February 21,
21   2006, at 9:00 a.m. be continued to Monday, February 27, 2006 at
22   9:00 a.m.
23        This request is made based upon the fact that a Plea Agreement
24   is being prepared by the Government and Defense counsel will not
25   have an opportunity to review the Agreement with the Defendant
26   prior to the Hearing scheduled for February 21, 2006.                 It is
27   requested that the Hearing scheduled for February 27, 2006 be

28   placed on calendar for a Plea Hearing.
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 1
          It    is   further   stipulated     by    the    parties     that      any   delay
 2
     resulting from this continuance shall be excluded on the following
 3
     basis:
 4               Title 18, United States Code, Section 3161(h)(1)(A) which
 5               states:
 6               (h)   The following periods of delay shall be excluded in
 7                     computing the time within which any information or
 8                     an indictment must be filed, or in computing the
 9                     time within which the trial of any such offense
10                     must commence:
11                     (1)     Any   period   of    delay    resulting        from     other
12                             proceedings         concerning        the         defendant,
13                             including but not limited to –

14                             (A)   delay    resulting      from      an     proceeding,

15                                   including any examinations, to determine

16                                   the     mental       competency        or     physical

17                                   capacity of the defendant;

18
19                                                 Respectfully submitted,
     Dated:    February 15, 2006
20
21
                                                   /s/      Anthony         P.      Capozzi
22
                                                   Anthony P. Capozzi,
23                                                 Attorney for Defendant,
                                                   Refugio Santana
24
     Dated:    February 15, 2006
25                                                 /s/ Dawrence Rice
26                                                 Dawrence Rice,
27                                                 Assistant U.S. Attorney

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 1
 2                                       ORDER
 3        IT IS SO ORDERED.       Good cause having been shown, the Hearing
 4
     set for February 21, 2006, is vacated and continued to February 27,
 5
     2006 at 9:00 a.m. for a Plea Hearing.         Additionally, time shall be
 6
     excluded by stipulation from the parties and pursuant to 18 USC
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     §3161(h)(1)(A).
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 9
10   IT IS SO ORDERED.

11   Dated:   February 15, 2006               /s/ Anthony W. Ishii
     0m8i78                             UNITED STATES DISTRICT JUDGE
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